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 6   ZHI HUI XUE
 7
 8                              UNITED STATES DISTRICT COURT
 9                             EASTERN DISTRICT OF CALIFORNIA
10
11
12
     UNITED STATES OF AMERICA                         Case No. 2:06-cr-00390-WBS-1
13
                          Plaintiff,
14
            v.
15                                                    ORDER TO EXONERATE PROPERTY
     ZHI HUI XUE,
16
                                                      BOND
                          Defendant.
17
18
            Upon application of defendant Zhi Hui Xue, and good cause appearing therefore,
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            IT IS HEREBY ORDERED that the property known as 1247 Orchard Avenue, San
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     Leandro, California, used to secure defendant Zhi Hui Xue’s bond, shall be released and
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     exonerated. The deed of trust shall be returned to its owners free and clear of any federal lien
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     as bail. The property bond in the amount of $100,000 is hereby exonerated. The property
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     shall be reconveyed to its owner Guo Ping Xue.
24
     Dated: May 2, 2014
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